                      IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
                                        3:09cr203


UNITED STATES OF AMERICA                                )
                                                        )
                         vs.                            )
                                                        )                           ORDER
                                                        )
ERIC GILES, et al.                                      )
                                                        )


          THIS MATTER is before the Court upon motion of the government to set a trial date in

this case during the August 2010 trial term in the Charlotte Division (Doc. Nos. 109, 115), to

which defense counsel do not object.

          Given the expected complexities securing the presence of witnesses at the trial, the Court

finds that setting a date certain is in the interest of justice.

          IT IS, THEREFORE, ORDERED that the motion is GRANTED, and jury selection and

trial in this case will begin at 10 a.m. on August 2, 2010.

          The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, the United States Attorney, the United States Marshal, and the United States Probation

Office.

                                                            Signed: July 7, 2010




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